                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN
                                     Green Bay Division


DESIGN BASICS, LLC, et al.,

                              Plaintiffs,

               vs.
                                                                 Case No: 1:14-cv-1102-WCG
LEXINGTON HOMES INC., et al.,

                              Defendants,

               and

ACUITY, A MUTUAL INSURANCE
COMPANY,

                              Intervenor Defendant.


           JOINT CIV. L.R. 7(h) EXPEDITED NON-DISPOSITIVE MOTION TO
                         AMEND THE SCHEDULING ORDER


        The Plaintiffs, Design Basics, LLC (“DB”), Prime Designs, Inc. (“PDI”), and Plan Pros,

Inc. (“PPI”), by their attorneys, Dana A. LeJune and Michael T. Hopkins; the Defendants,

Lexington Homes, Inc. (“LHI”), Team Stimpson, LLC (“TS”), Tailwind Crossings, LLC

(“TWC”), Ponds of Menasha, LLC (“POM”), Fieldstone Investments, LLC (“FI”), Centennial

Centre, LLC (“CC”), Jeffrey T. Marlow (“Marlow”), Michelle L. Stimpson (“Stimpson”), and

Greg Wells (“Wells”) (collectively, “Defendants”), by their attorney, Frank W. Kowalkowski; and

the Intervening Defendant, ACUITY, A Mutual Insurance Company (“Acuity”), by its attorney,

Christine Rice, jointly move for an Order amending the scheduling order. The factual basis for

this motion is as follows:

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       The Court entered a Scheduling Order in this matter on January 22, 2015 (Dkt. 26) which

set the following deadlines and other dates:

       Party with burden of proof to produce experts’ reports               July 17, 2015

       Responsive experts’ reports to be produced                           August 17, 2015

       Rebuttal experts’ reports produced                                   September 18, 2015

       Discovery cut-off                                                    October 30, 2015

       Filing of dispositive motions                                        December 7, 2015

       Final pretrial conference                                            April 1, 2016

       Jury trial                                                           April 18, 2016

       Due to difficulties encountered by Defendants, they provided reports from four (4)

designated experts (on “burden of proof issues”) to Plaintiffs on August 12, 2015. Plaintiffs

consented to this extension of time with the intent of being able to depose each of Defendants’

three experts within a three week period after the reports were produced so that responsive

experts could be identified within two weeks thereafter, additional expert and fact discovery

could be concluded, and the parties could still meet the dispositive motion date provided in the

Scheduling Order.

       However, because of conflicts experienced in attempting to coordinate the calendars of

three trial counsel and four expert witnesses, two of the witnesses could not be scheduled for

deposition until September 14, which have been concluded. The remaining two experts were

deposed yesterday and today, September 21 and 22, 2015.

       After concluding the depositions of Defendants’ experts, Plaintiffs will require three to

four weeks in which to have responsive experts’ reports prepared. Once these reports are




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exchanged, the parties anticipate they will require another six weeks in which to depose

Defendants’ experts, have any rebuttal reports prepared, and thereinafter complete discovery.

       Based upon the foregoing, the parties jointly request that the Court extend the remaining

Scheduling Order dates by 60 days and amend the Scheduling Order as follows:

       Responsive experts’ reports to be produced                          October 21, 2015

       Rebuttal experts’ reports produced                                  December 1, 2015

       Discovery cut-off                                                   January 15, 2016

       Filing of dispositive motions                                       February 22, 2016

       Final pretrial conference and jury trial,
       on or after                                                         June 15, 2016

       Dated this 22nd day of September, 2015.



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